   4 12/26/201U 13:30                             CMIL              Denise neavens -rAttorney Connors                      LIZ

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                    CarterMari
                        INJURY LAWYERS


           December 28, 2016

           (CMIL377821)
           Harris Beach, LLC
           100 Wall Street
           New York, NY 10005

           Re:      Our Client: Nellina Guerrera
                    File: 287190
                    Group: Aetna
                    Loss Date: 2/20/015


           Dear Attorney Connors:

           I am in receipt of your letter dated December 19, 2016 wherein you repeat your claim to
           my office that your client, Aetna, has a right of recovery for payments made on behalf of
           my client to various healthcare providers pursuant to a Medicare Advantage policy.

           Please be advised that there is no law supporting your position applicable in our
           state. Based on the United State District Court for the District of Connecticut's decision
           in Primax Recoveries Inc. v. Yarmosh, No.3:03cv01931 (D.Conn. September 7, 2006),
           Medicare supplement or replacement policies have no right of action to assert for
           reimbursement. Accordingly, we do not recognize or acknowledge the validity of
           your "lien" at this time.


           Very Truly Yours,

            e             t     bia.
                    mi

           Danielle Wisniowski, Attorney
           860-223-2100
           Fax:860-223-2111
           dwisniovvski@cartermario.corn




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